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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF MARYLAND
                                      at Baltimore


IN RE:                                 *
                                       *          Case No.: 13-20483
Winona C. Bush                         *
                                       *
                                       *
                                       *
                                       *          Chapter 13
Debtor.                                *
******************************* ****** *
Nationstar Mortgage LLC                *
                                       *
                                       *
       Movant,                         *
                                       *
v.                                     *
                                       *
                                       *
Winona C. Bush                         *
                                       *
                                       *
                                       *
                                       *
       Respondent.                     *
 ********************************************************************************
 RESPONSE TO MOVANT’S MOTION FOR RELIEF FROM AUTOMATIC STAY AS
   TO THE PROPERTY KNOWN AS 24 BANTRY COURT, ROSEDALE, MD 21237
  Now comes the Debtor/Respondent (“Respondent”), Winona C. Bush, by and through her
attorney, Marie Lott Pharaoh, who objects to Nationstar Mortgage LLC’s Motion for Relief
from Stay and, for good cause, respectfully responds as follows:
         1. Respondent admits to the allegations in paragraph 1.
         2. Respondent does not have sufficient knowledge to admit to or deny the allegations in
            paragraph 2.
         3. Respondent denies the allegations in paragraphs 4-6.
         4. Respondent further avers that the property at 24 Bantry Court, Rosedale, MD is
            absolutely necessary for an effective reorganization, as this is where she is domiciled,
            and is her primary residence.
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WHEREFORE, the Respondent prays that this Honorable Court:
        A. Deny Movant’s Motion, and
        B. Grant such other and further relief as her cause dictates.

                                                             Respectfully submitted,



May 17, 2017                                                 /s/ Marie Lott Pharaoh
                                                             Marie Lott Pharaoh #11080
                                                             16029 Dorset Road
                                                             Laurel, Maryland 20707
                                                             Phone: (240) 606-3494
                                                             Fax: (240) 536-9157
                                                             mariepharaoh@lawfirmmail.com




                                    CERTIFICATE OF SERVICE

   I hereby certify that on May 17, 2017, I reviewed the Court’s CM/ECF system and it reports
that an electronic copy of Debtor’s Response will be served electronically by the Court’s
CM/ECF system on the following:

       Richard J. Rogers, Esq.
       Attorney for Movant

       Robert S. Thomas II
       Chapter 13 Trustee
                                                             /s/Marie Lott Pharaoh
                                                               Marie Lott Pharaoh




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